Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 1 of 36




 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK
 ----------------------------x                 23-MJ-5219(MJR)
 UNITED STATES OF AMERICA,

 vs.
                                               Buffalo, New York
 HOWARD HINKLE, JR.,                           October 26, 2023
               Defendant.
 ----------------------------x
 DETENTION HEARING


                     TRANSCRIPT OF PROCEEDINGS
            BEFORE MAGISTRATE JUDGE MICHAEL J. ROEMER
                  UNITED STATES MAGISTRATE JUDGE


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  transcript produced by computer.)
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 2 of 36
                                                                          2
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1                              P R O C E E D I N G S

2                          *            *            *
3

4           (Open court, defendant present:)
5           THE CLERK:    United States District Court for the Western

6     District of New York is now in session.

7           The Honorable Michael J. Roemer presiding.
8           We're here on matter of U.S.A. v. Howard Hinkle, Jr.,

9     case number 23-MJ-5219 for a detention hearing.

10          Counsel for the government, please state your name for
11    the record.

12          MS. CHALBECK:      Assistant United States Attorneys Casey
13    Chalbeck, Nicholas Cooper and Joe Tripi.

14          MAGISTRATE JUDGE ROEMER:        Thank you.

15          Counsel for defendant, please state your name for the
16    record.

17          MR. BOGULSKI:      Good afternoon, Frank Bogulski appearing.

18          MAGISTRATE JUDGE ROEMER:        Thank you.
19          THE CLERK:    And I note Mr. Hinkle present in the

20    courtroom.

21          Also present is U.S. Probation Officer Melissa Linton.
22          MAGISTRATE JUDGE ROEMER:        Good afternoon.

23          We're here for a detention hearing.
24          Are we ready to go, Ms. Chalbeck?

25          MS. CHALBECK:      We are, your Honor.
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 3 of 36
                                                                          3
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1           MAGISTRATE JUDGE ROEMER:       Mr. Bogulski?

2           MR. BOGULSKI:     Yes, Judge.
3           MAGISTRATE JUDGE ROEMER:       All right.    Ms. Chalbeck, I'll

4     hear from you.
5           MS. CHALBECK:     Thank you, your Honor.

6           Government moves for detention based on the provisions

7     in 18 U.S.C. 3142(f)(1)(B, (C) and (E).
8           As a substantive matter, Mr. Hinkle should be detained

9     because there is no condition or combination of conditions

10    that will reasonably assure the safety of the community or
11    the defendant's presence at trial.

12          For starters, your Honor, I'll note that there are --
13    this is a presumption case on two bases:

14          Mr. Hinkle's drug distribution charge carries a 40-year

15    maximum penalty.     And Mr. Hinkle's firearm in furtherance of
16    a drug trafficking crime, under 18 U.S.C. Section 924(c),

17    carries a term of life imprisonment.

18          So there are two bases for the presumption here.
19          This presumption can be rebutted only if Mr. Hinkle

20    shows that he does not pose a danger to the community or that

21    he's not a flight risk.
22          But in our view, that's not a showing that Mr. Hinkle

23    can make; and, even if he could, the presumption doesn't go
24    away but is, instead, analyzed alongside the detention

25    factors articulated in 18 U.S.C. 3142(g).
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 4 of 36
                                                                          4
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1           Related to those factors, your Honor --

2           MAGISTRATE JUDGE ROEMER:       I --
3           MS. CHALBECK:     -- I want to --

4           MAGISTRATE JUDGE ROEMER:       I, I'm sitting here thinking
5     about what you just said.       I think you said Mr. Hinkle has to

6     show that he's not a risk of flight or that he's a danger to

7     the community.
8           I think that's on you to show that he is.          And it's not

9     just to show that he is, but that there's no reasonable

10    conditions that will reasonably assure safety and risk of
11    flight.    Mr. Hinkle doesn't have to show anything, right?

12          MS. CHALBECK:     Your Honor, my understanding is, is that
13    the Second Circuit in interpreting statute has said that in

14    the circumstances of a presumption, Mr. Hinkle bears a

15    limited burden of production.
16          MAGISTRATE JUDGE ROEMER:       Okay.

17          MS. CHALBECK:     Ultimately, the burden of persuasion

18    falls on the government.
19          And, your Honor, in our view, the facts, when analyzed

20    through the prism of the 3142 --

21          MAGISTRATE JUDGE ROEMER:       Do me a favor.     Just pull the
22    microphone down.

23          MS. CHALBECK:     My apologies.
24          MAGISTRATE JUDGE ROEMER:       Okay.

25          MS. CHALBECK:     Is that better, your Honor?
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 5 of 36
                                                                          5
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1           MAGISTRATE JUDGE ROEMER:       Yep.

2           MS. CHALBECK:     In our view, the facts of this case and
3     the circumstances behind it, when viewed through the prism of

4     the 3142(g) factors and also alongside the presumption which
5     doesn't go away, show that Mr. Hinkle by clear and convincing

6     evidence is a danger to the community and a flight risk.

7           So, before I get into the nature and circumstances of
8     the offenses with which Mr. Hinkle is charged, I want to give

9     some background to this case.

10          As your Honor knows, there is an investigation into the
11    death of a federal witness who was set to testify in a trial

12    that is supposed to start early next year.          In investigating
13    that death -- and the investigation, I should note, remains

14    ongoing -- the FBI learned that Mr. Hinkle was one of the

15    last people to interact with Crystal Quinn in the days
16    leading to her death.

17          The FBI further learned from another defendant -- not in

18    this case, in a different case -- Simon Gogolack that Mr.
19    Hinkle told Ms. Quinn that there was a bounty on her life.

20          In investigating Mr. Hinkle, the FBI procured a federal

21    search warrant for his residence, the 4290 Donovan Avenue
22    residence.    Due to concerns that Mr. Hinkle would be armed

23    and dangerous, a SWAT team was used to initially clear the
24    residence before the search could proceed in a more fulsome

25    manner.    When the SWAT team announced its presence before the
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 6 of 36
                                                                           6
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1     4290 Donovan Avenue residence, several concerning incidents

2     occurred.
3           First, it took several minutes for the occupants of the

4     residence -- including Mr. Hinkle -- to exit the residence.
5     This is after, your Honor, the FBI announced their presence

6     through flash grenades, a loud megaphone.          There were

7     flashing lights, there was a spotlight.          Several minutes
8     transpired between that first initial announcement and

9     Mr. Hinkle's eventual exit of the residence.

10          When Mr. Hinkle did exit the residence, he stood in the
11    doorway.    My understanding, from watching the body camera

12    video and speaking with one of the SWAT agents, is that
13    Mr. Hinkle made several suspicious gestures and movements,

14    behaviors.    He was holding something.       He was not complying

15    with SWAT deem demands.       At one point -- and this is
16    important -- Mr. Hinkle leaned into the residence in the

17    front doorway.     Ultimately he decided to surrender himself.

18          When the SWAT team went to clear the residence to insure
19    that it was safe for the FBI to proceed with its search, they

20    found by the front door a loaded firearm:          A loaded rifle

21    that appears to have a scope on it.         There is another weapon
22    there -- I'm going to present this on the ELMO.           I shared

23    these photos with counsel yesterday in an email.
24          This firearm to the left is a rifle.         I'm not sure if

25    your Honor can see it but there is a scope attached to this
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 7 of 36
                                                                           7
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1     rifle and, indeed, when the FBI SWAT team went to clear the

2     residence, they found firearms, 19 in total, proliferating
3     throughout near almost every point of ingress and egress.

4           Here is another firearm, your Honor, which also has a
5     scope on it.     This, my understanding, is a firearm that was

6     placed near the side door.

7           The firearm that was loaded by the front door, I
8     mentioned it has a scope -- or it had a scope.           This is a

9     photograph of that firearm with the scope turned on.            This is

10    a red laser.     I anticipate that Mr. Hinkle will argue that he
11    is a hunter, that he uses these firearms for lawful purposes.

12    My understanding, your Honor, is that laser beams, tactical
13    features like this are not common with hunting, and, rather,

14    are used for, at minimum, target practice.

15          And this is a good segue into the circumstances and
16    nature of the offenses charged.        I mentioned that there were

17    firearms throughout the residence, some of which were loaded

18    stationed at multiple points of ingress and egress.            In fact,
19    Mr. Hinkle had a firearm that was situated by a window.             To

20    left of the window was a scale.        To the right of the window

21    was a storage full of marijuana.        And the window itself
22    overlooked several marijuana plants.

23          I apologize for the glare, your Honor.
24          The firearm is in the middle there.         This is a tub full

25    of marijuana.     The scale is on the desk right there.
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 8 of 36
                                                                          8
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1           And this is important because, bracketing for a moment

2     that Mr. Hinkle, felon, could not lawfully possess any of the
3     19 firearms found in his home, the strategic placement of

4     loaded firearms near points of ingress and egress, as
5     well as windows overlooking the marijuana plants, afforded

6     Mr. Hinkle -- and I'm going to quote the Second Circuit here

7     -- "an advantage relevant to the vicissitudes of drug
8     trafficking".     That, your Honor, is from

9     United States v. Snow, 462 F.3d 55, 62 through 63.            It's a

10    Second Circuit opinion from 2006.
11          So, in other words, it is clear from the placement of

12    the firearms that Mr. Hinkle used weapons -- I'm going to
13    quote again -- "to protect drugs, drug proceeds", end quote,

14    or himself in relation to his drug distribution activities.

15    And that conclusion is supported by the weight of the
16    evidence in this case.       It goes to the weight of the

17    evidence, as well as the circumstances and nature of this

18    offense.
19          There is no question that Mr. Hinkle's residence doubled

20    as a large grow site.      There were over 130 marijuana plants

21    found in the exterior of the residence.          There was a seedling
22    grow operation found in the basement.         There was marijuana

23    drying in a trailer in the front driveway.
24          There is, likewise, no question that the firearms in

25    this case were placed by doors, windows, and that ammunition,
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 9 of 36
                                                                          9
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1     which was also found throughout the residence, was placed

2     near grow sites, too, and that this placement of firearms and
3     ammunition conferred a strategic advantage to Mr. Hinkle in

4     the event of a drug conflict.
5           MAGISTRATE JUDGE ROEMER:       I'm sorry, in the event of?

6           MS. CHALBECK:     Of a drug conflict.

7           And in the vein of a drug conflict, your Honor, I will
8     also note that Mr. Hinkle had cameras set up on the exterior

9     of the residence that would enable him to see anybody coming

10    on to his property.
11          And I want to touch on the property a little bit and

12    kind of segue into Mr. Hinkle's -- some of the acute
13    dangerousness concerns that we have apart from everything

14    else I just spoke of.

15          Mr. Hinkle's property, first and foremost, is in
16    Wellsville which is several hours away from here.           We're

17    concerned that that, in and of itself, is going to make it

18    difficult for probation to effectively monitor him.            But even
19    if probation could effectively monitor him, the residence is

20    situated on top of a hill, which gives Mr. Hinkle a, in terms

21    of an eye view or a visual, you know, advantage, to anyone
22    coming on to his residence.

23          We understand that Mr. Hinkle has, has some
24    anti-government, anti-law enforcement views.           During his

25    arrest, he, he asked a young female law enforcement member to
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 10 of 36
                                                                           10
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1      hold his penis while he peed.       And, so, given his views,

2      given the strategic advantages afforded to just the residence
3      itself, and given that despite his felon status, Mr. Hinkle

4      was able to amass some 19 firearms.        We're worried that there
5      could be safety concerns, acute safety concerns if probation

6      attempted to monitor him while he was in Wellsville.

7            And that's just the tip of the iceberg because, as
8      Mr. Hinkle's bail report shows, he has an extensive arrest

9      history.    He has a conviction for assault:        Assault in the

10     second degree.     My understanding is that conviction stems
11     from -- and this is, I believe, in the statute itself -- it

12     stems from an assault on an EMT, firefighter or police
13     officer, which, again, goes to Mr. Hinkle's inability to

14     comply with conditions, obey directions.

15           But that's -- that's not it.       It appears from the time
16     that he was an adult, throughout his adult life, he has been

17     arrested for multiple offenses, sexual misconduct, theft,

18     burglary, criminal possession of stolen items, DUIs, violent
19     felony offense, criminal possession of a weapon in the fourth

20     degree.

21           And while I was reviewing the bail report, your Honor, I
22     noted that most of these arrests occurred while Mr. Hinkle

23     was either on bail -- for instance, the arrest on June 20th,
24     1995, the arrest on October 13th, 1995.         And this didn't just

25     occur when he was a teenager but continued into his
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 11 of 36
                                                                            11
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1      adulthood.    On July 11th, 1998.      On August 11th, 1998.        In

2      April of 2008, likewise, there was an arrest in May of 2008
3      while Mr. Hinkle was on probation.

4            And, so, in so far as the Court is asking itself what
5      conditions can insure Mr. Hinkle's presence at trial or the

6      safety to the community, Mr. Hinkle's documented record shows

7      that he cannot comply with conditions of release, be it
8      pretrial in the cases of his arrest while on bail, or

9      post-trial, post-condition while he's on probation.           He's

10     been arrested in both instances.        And Mr. Hinkle's past
11     behavior is one of the single greatest indicators of his

12     future conduct.
13           But, again, your Honor, that's not all.         The government

14     learned that there was, in December of 2021, a 911 report

15     made -- a 911 call made.      In that call, Mr. Hinkle's
16     codefendant called the police and had reported to police that

17     Mr. Hinkle had threatened to kill her and then himself, and

18     that he took from his residence, the 4290 Donovan Avenue
19     residence, allegedly two weapons including a .22 and a rifle

20     or a shotgun.    And, your Honor, I will note that though this

21     instance did not result in Mr. Hinkle's arrest, the FBI did
22     find during their search on October 24th, a.          22 and a

23     shotgun underneath the bed -- the shotgun, excuse me, was
24     found underneath the bed.       The.   22 was found separately but

25     the shotgun was found underneath the bed in the bedroom.
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 12 of 36
                                                                           12
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1            And, finally, though Mr. Hinkle does not -- we note that

2      Mr. Hinkle does not appear gainfully employed, our
3      understanding is that he does odd jobs.         Given the amount of

4      marijuana on the property, the number of plants on the
5      property -- again over 130 -- it appears that drug

6      distribution functions as his primary source of income.             And

7      that, your Honor, goes to both risk of flight and
8      dangerousness.     It goes to risk of flight because it's one

9      more social bond, professional bond, that he doesn't have

10     tying him to Wellsville.      And it goes to dangerousness,
11     because, of course, drug distribution is dangerous to our

12     communities.
13           So all told, while Mr. Hinkle will dispute that his

14     release would pose a risk, his documented record demonstrates

15     otherwise.    And this Court should conclude that no set of
16     conditions could protect against the very legitimate and

17     significant risks of danger and flight posed by Mr. Hinkle's

18     release.
19           Thank you, your Honor.

20           MAGISTRATE JUDGE ROEMER:      You started off saying I'll

21     give you some background of the investigation that he was
22     somehow involved in the murder of a federal witness.           What do

23     you have that points to him as a -- being involved in the
24     murder of a federal witness?

25           MS. CHALBECK:    Your Honor, I'm not able to answer, to
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 13 of 36
                                                                           13
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1      disclose all of what we know and to say more than what I

2      believe I said before.      I believe I noted before that Mr.
3      Hinkle -- that another defendant in a case before the Court,

4      Simon Gogolack, had told the FBI that Mr. Hinkle had told
5      Crystal Quinn, the deceased federal witness, that there was a

6      bounty on her life, that there was money on her head.

7            MAGISTRATE JUDGE ROEMER:      And then that's what you got
8      for him being involved with it?

9            MS. CHALBECK:    At this time I cannot say any more than

10     that, your Honor.
11           MAGISTRATE JUDGE ROEMER:      Okay.

12           Probation?
13           PROBATION OFFICER LINTON:      Your Honor, I rely on my

14     report.   As the Court is aware, we can't consider the weight

15     of the evidence.     I simply have to use the background
16     information that I have.

17           At this time I rely on my report.

18           MAGISTRATE JUDGE ROEMER:      Mr. Bogulski.
19           MR. BOGULSKI:    Thank you, Judge.

20           I, I'm glad the Court asked that question.          I don't

21     think that I heard -- and maybe people hear differently --
22     that they said he was involved.        I consider what they -- when

23     I say "they", the government -- that my client may be more
24     likely a witness rather than being involved in, in that

25     because he's not charged with that here, Judge.
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 14 of 36
                                                                           14
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1            And those are matters that I will be reaching out to the

2      government and try to address because I think it's important
3      because we have to deal with it one way or the other because

4      he's -- if what the government is saying is accurate, based
5      on what they have from the informant, then he's a potential

6      witness in another case and we're going to have to deal with

7      that, right.    Because if he's subpoenaed, he's going to have
8      to testify.    So I will deal with that, Judge.

9            I think this case is overcharged, your Honor.          I looked

10     at the marijuana that -- in the pictures that they showed.
11     And, also, I looked at the affidavit for the complaint and

12     there's no -- a lot of times with these drug cases, Judge,
13     you'll have someone that does a controlled buy, cocaine or

14     something like that.      They'll say, you know, on October 1st,

15     an informant bought drugs or cocaine or meth or whatever.           We
16     don't have any of that.      It's basically an opinion from, from

17     the, you know, in the complaint that says that they found

18     some marijuana and some guns and, therefore, because of that,
19     you know, he's selling marijuana.        But there's nothing

20     further to corroborate that.       There's no sales.

21           They say that it's jarred.       My understanding, Judge, is
22     that, in talking to my client and some of his family members,

23     is that my client had -- his son's here, by the way, Judge,
24     as well.

25           He's more of a marijuana user and that would be
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 15 of 36
                                                                           15
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1      consistent with what the facts are before this case.

2            MAGISTRATE JUDGE ROEMER:      You say he's more of a?
3            MR. BOGULSKI:    My client uses marijuana.

4            MAGISTRATE JUDGE ROEMER:      Okay.
5            MR. BOGULSKI:    And I think -- and according to his son

6      who's here, he's always been a marijuana user.          For better or

7      worse, it is what it is that he's used marijuana.           I think he
8      acknowledges that.     And I think the more appropriate charge

9      would be the felon in possession because he is a felon, the

10     922(g)(1).    And I high light that for Court because I don't
11     think that, you know, obviously it's not indicted but I don't

12     think that this is really a presumption case if it were
13     charged properly, and that's my opinion.         Obviously the

14     government sees it differently.        That's why they charged the

15     924(c), Judge.
16           And also in the context of Allegany county.          I've

17     practiced law there, Judge, and I've been hunting there with

18     my family.    A lot of people own a lot of guns in Allegany
19     County.   It's not like Amherst or, you know, West Seneca.

20     It's a different lifestyle.

21           My client was, was whispering to me as we were sitting
22     here about the, about the laser sight or whatever that was,

23     that it's for predators.      He said coyotes.      They have fisher
24     cats.   I don't even know what those are.        But that he's --

25     he's not a drug dealer, Judge, and there's nothing in his
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 16 of 36
                                                                             16
                   U.S. v. Hinkle, Jr. - 23-MJ-5219


1      record to indicate that he's a drug dealer.

2            He has a criminal history but the last time he was
3      arrested, your Honor, was when he was 31 years old, which was

4      16 years ago.    And from my research -- I've been to different
5      seminars and things and they talk about the likelihood of

6      someone offending or recidivism or their likelihood to commit

7      crime, it goes down significantly, the older you are.               And
8      that's what I see in his criminal history is that it's been

9      16 years since he's been arrested.        So he's 47 now.     And

10     people over 45 are far less likely to commit crimes than
11     people that are 31.     And that's consistent with what, what I

12     see here.
13           So, the one point I have is that I think it's

14     overcharged but we'll deal with what's before us.

15           My client's not a risk of flight.        He indicated his
16     codefendant is his wife but they're not legally married but

17     they've been together for 32 years.        My client's son is here.

18     He works at a NAPA Auto Parts in Wellsville, I believe.              And
19     his whole family lives -- it's a small family but they live

20     in Allegany County.     So he's certainly not a risk of flight,

21     Judge.
22           He tells me that his son -- and I met his son's fiancee

23     yesterday here, nice people -- is schedule -- or is going to
24     be getting married, and I kind of joked around I said "not

25     like your parents".     But they're, they're engaged to be
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 17 of 36
                                                                           17
                   U.S. v. Hinkle, Jr. - 23-MJ-5219


1      married.    And my client also cares for his wife.         I didn't

2      see her report but he had represented to me that his wife has
3      some kind of neurological problem.        He's been caring for her.

4            I would characterize their lifestyle as very simple.            He
5      has some pigs.     In addition to marijuana plants which is

6      obviously seen to have that, he has a small garden, you know,

7      and pigs.    And he lives on like more of a subsistence
8      lifestyle different than a lot of people here would live,

9      Judge.

10           So based on the fact that he's lived in this community
11     his entire life, I believe -- and the fact that his only

12     child lives within a mile from where he is, he's certainly
13     not a flight risk.     That's his only son.      And I believe that

14     rebuts any presumption of detention.         He's not going to go

15     anywhere.    He's excited that his son is going to get married.
16     And his son tells me that his parents want him to get married

17     because they want grandchildren, and that's the direction

18     that their relationship is going with a marriage.           So I think
19     with grandkids on the horizon, I don't think that he's going

20     to get up and leave Allegany County where he's lived his

21     entire life because he wants to be with his family.
22           As far as -- so there's no way he is a risk of flight,

23     in my view.    And I don't think that the probation department
24     thought that is the case, as well.        The fact that he's had a

25     stable relationship for 32 years, also is significant
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 18 of 36
                                                                           18
                   U.S. v. Hinkle, Jr. - 23-MJ-5219


1      regarding risk of flight in that he's not going anywhere.

2             As far as what happened at 5:30 in the morning, Judge,
3      my understanding -- and the government acknowledged it --

4      that they used flash grenades and that my client took some
5      time to get out.     I know that most of us, if it was 5:30 in

6      the morning -- some people get up and work out at 5:30, I

7      don't, but some people do -- but most of us get up later than
8      5:30, myself included, and if someone were to throw some

9      flash grenades in my house, I don't know that I'd be running

10     to the door, honestly.      There's no way.     I'd be scared and I
11     think anybody would be scared if they threw flash grenades.

12            He tells me the guns they showed, one's a pellet gun and
13     the other is a black powder gun.        And I mention this in the

14     context of living out in the country.         People in Allegany

15     County, like everybody has a gun almost -- not everybody but
16     generally.

17            MAGISTRATE JUDGE ROEMER:     But he's not allowed to have a

18     gun.
19            MR. BOGULSKI:   He's not.

20            MAGISTRATE JUDGE ROEMER:     And he had 19 guns.

21            MR. BOGULSKI:   He did, Judge -- or allegedly.        But --
22     well, him and his wife had them but in his house, yes, he

23     did.    And that's why I said to the Court because it's a
24     significant difference in penalty that I see this more as a

25     922 case, Judge, felon in possession, than a presumption case
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 19 of 36
                                                                           19
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1      because there's far less penalties on the 922, as you know,

2      than the 924(c).     So I acknowledge, Judge, that he's not
3      supposed to have -- even if his wife had them and she bought

4      them, they're not supposed to be in the house, and we
5      recognize.

6            MAGISTRATE JUDGE ROEMER:      Is that the position, his wife

7      bought them, they were her guns?
8            MR. BOGULSKI:    I didn't talk to her, Judge.        But I think

9      that would make sense because he couldn't go into the store

10     and buy a gun, you know, like -- he just can't do it when you
11     have a felony.     And they have different names so maybe that's

12     how it happened.     I'm just answering your question.        But I, I
13     didn't get too much into it but that's what I think his

14     position is.

15           But I would acknowledge it's very likely that you
16     could -- you could get convicted, or you probably likely

17     would, if a jury were sitting in that box and the government

18     were to say that he had guns in his house, and his wife
19     bought them, probably wouldn't be the best defense that I --

20     it wouldn't be a very good defense.        But it's not a 924(c),

21     which is a presumption case, Judge, and with that --
22           MAGISTRATE JUDGE ROEMER:      Well, you say there's no

23     evidence that he was selling marijuana.
24           MR. BOGULSKI:    Correct.

25           MAGISTRATE JUDGE ROEMER:      Yeah, but --
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 20 of 36
                                                                           20
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1            MR. BOGULSKI:    Correct.

2            MAGISTRATE JUDGE ROEMER:      -- there was a lot of
3      marijuana there.

4            MR. BOGULSKI:    There was, Judge.      But I mean, people
5      when you grow, like sometimes it's -- economy's a scale, like

6      when you grow tomatoes, sometimes, you know, I've grown --

7      I'm not a big farmer but, you know, you'll put some peppers
8      or tomatoes or raspberries, you get a lot of it.           Right?   And

9      so, I'm not -- you know, I don't know how people with

10     marijuana goes.     I know it's technically now, I guess, if you
11     go to a dispensary or, you know, people, there -- I have

12     actually represented some people with licensing issues,
13     Judge, and there's legitimate -- this is not a legitimate

14     operation but there's a lot of people growing a lot of

15     marijuana in western New York right now for -- whether we
16     agree with it or not but this is a federal case and it's

17     illegal in federal court, I know that.

18           But my client claims that he doesn't sell it and there's
19     nothing in the affidavit, Judge, that says -- there's no

20     controlled -- they were looking at him, they acknowledge that

21     the government was watching him.        And I would think --
22     because it seems they obviously want to detain him -- if, in

23     fact, my client was selling it, they would have had someone
24     swear out an affidavit.      That's just my, my view and they

25     don't.   So they have a circumstantial case where it says
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 21 of 36
                                                                           21
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1      there's a lot of marijuana drying in a --

2            MAGISTRATE JUDGE ROEMER:      There's scales.
3            MR. BOGULSKI:    Scales.    And my client says that's for

4      silver.   And even marijuana users, Judge, will have scales in
5      my, in my experience in criminal practice or even drug users

6      because they want to know what it is they're smoking and how

7      much it weighs and so forth.
8            But there was no, like, baggies or anything like that

9      where, you know -- it was in jars but people that use

10     marijuana put it in jars so that they preserve it, just like
11     someone's going to put oregano or bay leaves in a jar.

12     That's what they do to preserve it.        So there's no indication
13     here that there was any sales.       There's no controlled buys.

14     There's no affidavits from any customers.         There's no

15     informants.    I represent a guy in state court today who took
16     a plea.   He sold to an undercover Buffalo police officer

17     downtown Buffalo.     So there's none of that here in this case.

18     I see it as a 922 case:      Felon in possession.      But with that
19     said, he's not a flight risk.

20           He doesn't have any convictions for 16 years -- and I'm

21     very glad that we adjourned this to today.          Both sides did
22     want to adjourn it, Judge.       I remember yesterday saying we

23     consented to Thursday because, because I wanted to see the
24     probation report.     And from what -- I had only interviewed my

25     client before.     I had a feeling, in my experience without
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 22 of 36
                                                                           22
                   U.S. v. Hinkle, Jr. - 23-MJ-5219


1      even knowing what the probation department was going to say,

2      that this would be a case that they might recommend for
3      release because I don't see a lot of marijuana cases like

4      this, Judge, with the 924(c) and I see usually cocaine or
5      other things.    So I was, I was thinking that the probation

6      department might likely come back and recommend my client's

7      release.    And they did.    Maybe the government saw otherwise
8      because we both did want a probation report.          And I remember

9      you saying, Judge, that you had wanted it, obviously, as

10     well.   Which if I were the judge, I would want to know what
11     the probation department said before I made any decisions

12     because they're in a better position than me because they
13     have a lot of resources.      They can talk to a lot of people

14     and verify information.

15            So there is a recommendation for his release and I think
16     that's reasonable.

17            The one thing the government did say about the property,

18     about how it's on a hill, I mean, I haven't been there, you
19     know.   If that were an issue for the Court, I asked my client

20     if there's somewhere else he can stay just here, he whispered

21     yes.
22            But in my view, I mean, this is a marijuana case and a

23     guy that shouldn't have had some guns clearly had them.             But
24     the probation department has recommended that he be released

25     and, obviously, I, I agree with that and I think that's the
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 23 of 36
                                                                           23
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1      least restrictive means.       And the biggest reasons, as I said,

2      is my client's son who's 27 makes him -- rebuts any risk of
3      flight.   The stability that his wife owns that home so he's

4      not going to leave.     He has no money to go anywhere.
5            (WHEREUPON, a discussion was held off the record.)

6            MR. BOGULSKI:    My client doesn't have a passport is what

7      he tells me.    It seems like he really doesn't go too many
8      places outside that Southern Tier area and along the

9      Pennsylvania border.      So he's not a risk of flight for that

10     reason.
11           And he's not dangerous.      He hasn't had any police

12     contact for, for 16 years, and he's 47 years old.
13           So, I'm asking the Court to abide by the recommendations

14     of the probation department and release my client on whatever

15     conditions the Court sees fit.       I think that's appropriate
16     in --

17           MAGISTRATE JUDGE ROEMER:      Well, probably the strongest

18     argument the government has made, Mr. Bogulski, is your
19     client isn't a rule follower.       Right?    He was rearrested four

20     times while he was out on bail and other charges and he was

21     arrested three times when he was out on probation.
22           MR. BOGULSKI:    Sure.

23           MAGISTRATE JUDGE ROEMER:      And then the nature of this
24     offense, a felon in possession of a weapon, again, he's not

25     following the rules.      He's not supposed to have a weapon.       So
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 24 of 36
                                                                           24
                   U.S. v. Hinkle, Jr. - 23-MJ-5219


1      how is he going to follow these conditions of release when he

2      can't generally follow any rules?
3             MR. BOGULSKI:   Well, on the first issue, Judge, he

4      was -- the last conviction, he was 31 years old when that
5      happened.    So, I mean, people, people change.        They mellow

6      out when they get older, Judge.        That's why your car

7      insurance goes down when you're 25 and 30 because people when
8      they're 21, even 31, are, are different than they are when

9      they're 47.    And I think --

10            MAGISTRATE JUDGE ROEMER:     Well, this felon in possession
11     of a weapon, that just happened, right?

12            MR. BOGULSKI:   No, Judge.
13            MAGISTRATE JUDGE ROEMER:     That didn't happen 16 years

14     ago.    That happened two days ago or whenever it is he got

15     arrested.
16            MR. BOGULSKI:   I understand, Judge.      And, like I said,

17     this is Allegany County, you know.        There's no allegation

18     that he brandished a weapon.       There's no allegation that,
19     that when the police came, that, you know, they said it was

20     by the door.    But, you know, it's a pellet gun.         There's

21     rodents and so forth and predators.        There's no allegation
22     that he, he tried to fight with the police.          He's not charged

23     with ob -- any of those offenses.        I mean, it was 5:30 in the
24     morning.

25            I mean, obviously, Judge, I mean the guns are, I mean,
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 25 of 36
                                                                            25
                   U.S. v. Hinkle, Jr. - 23-MJ-5219


1      look, his -- let's say, you know, you release him right now

2      and you release his wife, my theory is that -- and I don't
3      know this for sure -- is he got those guns because his wife

4      probably bought those guns.       I don't -- I presume she doesn't
5      have a report.     Now if she's on -- if the Court's worried

6      about him coming into the possession of guns, well, if his

7      wife is released and he's released, she's certainly not going
8      to be permitted to own any guns, obviously.          Right?   She

9      walks into a gun store and says I want to buy a gun and this

10     is going to come up like it's going to light up like a
11     Christmas tree.     So he's not going to get access to any guns.

12     And there's no evidence that he brandished or, you know,
13     threatened anyone with any guns.

14            I see it more as a guy who lives out in the country.           He

15     likes that lifestyle.      There's, you know, coyotes, and he's
16     got pigs and, you know -- I forget the other bird -- peacocks

17     and different animals there.       And it's not uncommon for

18     people to have guns to protect their, their animals.           And
19     he's --

20            MAGISTRATE JUDGE ROEMER:     But he's not allowed to have a

21     gun.
22            MR. BOGULSKI:   I understand that.      I agree.    But I do

23     see it as a 922 and, like, basically what we have, Judge, is
24     a guy for 16 years, he had no police contact.          I mean,

25     there's no arrests on his record.        He was minding his own
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 26 of 36
                                                                           26
                   U.S. v. Hinkle, Jr. - 23-MJ-5219


1      business in a rural area spending time with his family and

2      his son.    There's no one here saying that he, you know, has
3      threatened anyone with any of these guns.         He stays on his

4      property.    He minds to himself.      That's the way that I see
5      it.   And I do recognize that this is a strong 922(g)(1) case

6      for the government but not a 924(c) case.

7            And I think that there could be some reasonable
8      conditions for him to abide by and he'll abide by whatever

9      the Court sets.     He just wants to get out of jail.        He's not

10     a threat to anyone.
11           And the other issues, Judge, I will address, and I've

12     talked to the government a little bit about that.           I don't
13     want to get too much into it but I do want to talk to them

14     about him as a potential witness.        And, you know, we'll deal,

15     we'll deal with that, Judge, and we're going to have to,
16     obviously, and I want him to deal with that and I'll help him

17     deal with that.     So.

18           MAGISTRATE JUDGE ROEMER:      You all done?
19           MR. BOGULSKI:    Pardon me?

20           MAGISTRATE JUDGE ROEMER:      You all done?

21           MR. BOGULSKI:    Yeah, I'm all set.
22           MAGISTRATE JUDGE ROEMER:      Okay, thank you.

23           MR. BOGULSKI:    Whatever questions you have.
24           MAGISTRATE JUDGE ROEMER:      Ms. Chalbeck.

25           MS. CHALBECK:    Your Honor, I just want to note that
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 27 of 36
                                                                                27
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1      there is an allegation that he has threatened to use a

2      firearm against someone as early as December of 2021.               He
3      threatened to shoot and kill his wife.

4            Moreover, as to counsel's point that he hasn't been
5      arrested in a number of years, it doesn't appear that Mr.

6      Hinkle's travels in the criminal justice system have had much

7      of a deterrent effect.      He continues to break the rules.
8            Congress deemed a hundred plus marijuana plants so

9      important that it created a 5-year mandatory minimum for

10     people possessing that number of plants.         Mr. Hinkle had over
11     130, on top of the 19 firearms in his home which were

12     strategically located throughout the residence.           I hear
13     counsel arguing the weight of the 924(c) charge.           I would

14     just remind the Court that United States v. Snow sets the

15     standard for that.     And Mr. Hinkle's -- the facts of Mr.
16     Hinkle's case fall directly in the compass of that standard.

17           Thank you.

18           MAGISTRATE JUDGE ROEMER:      All right.    I'm going take ten
19     minutes and I'll come out and render a decision.

20           MR. BOGULSKI:    Thank you.

21           (WHEREUPON, recess taken.)
22           (Open court, defendant present:)

23           MAGISTRATE JUDGE ROEMER:      Anybody have anything else
24     they want to say?

25           (No audible response.)
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 28 of 36
                                                                           28
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1            MAGISTRATE JUDGE ROEMER:      In determining whether there's

2      a condition, or combination of conditions, that will
3      reasonably assure the defendant's appearance as required and

4      safety of any other person in the community, I have taken
5      into account the available information concerning the factors

6      enumerated in Title 18 United States Code Section 3142(g);

7      namely:
8            The nature and circumstances of the offense charged.

9            The weight of the evidence against the defendant.

10           The defendant's history and characteristics.
11           And the nature and seriousness of the danger to any

12     person or the community that will be posed by the defendant's
13     release.

14           Because there's probable cause to believe that the

15     defendant committed the offenses for which he is charged,
16     there arises under Title 18, United States Code, Section

17     3142(e) a rebuttable presumption that no condition, or any

18     combination of conditions, will reasonably assure the
19     defendant's appearance as required and safety of any other

20     person in the community.

21           While it's a close call, I do find the defendant has
22     rebutted this presumption.

23           Having considered the applicable factors, I find that
24     the government has failed to prove by a preponderance of the

25     evidence that no condition, or combination of conditions,
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 29 of 36
                                                                             29
                   U.S. v. Hinkle, Jr. - 23-MJ-5219


1      will reasonably assure the defendant's appearance as

2      required.
3            And I further find that the government has failed to

4      show by clear and convincing evidence that no condition, or
5      combination of conditions, will reasonably assure the safety

6      of any other person in the community.

7            While the defendant does have a fairly substantial
8      criminal record, the latest offense occurred over -- about 16

9      years ago.    He is presumed innocent of these charges.             While

10     the government mentioned the possibility of his being
11     involved with the murder of a federal witness, I don't see

12     any evidence of that -- or at least the government didn't
13     proffer any convincing evidence of that.

14           So, for all those reasons, I will order that the

15     defendant be released under the following conditions:
16           That he report to pretrial services within 24 hours of

17     release and as directed by the U.S. Probation Office.

18           He's not to obtain a passport or other international
19     travel document.     His travel shall be restricted to the

20     Western District of New York unless permission is granted to

21     travel elsewhere by the U.S. Probation Department.
22           He's to remain at a verifiable address approved by

23     pretrial services.
24           Mr. Bogulski, that address is going to be 4290 Donovan

25     Road, Wellsville, New York, correct?
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 30 of 36
                                                                           30
                   U.S. v. Hinkle, Jr. - 23-MJ-5219


1            MR. BOGULSKI:    That's correct, your Honor.

2            MAGISTRATE JUDGE ROEMER:      Okay.
3            He's to avoid contact with codefendants and defendants

4      in related cases unless approved by pretrial services.
5            Ms. Chalbeck, how do we handle his -- I mean, his

6      codefendant is his wife.      They're obviously going to have to

7      live together if she's released.
8            MS. CHALBECK:    Judge, can I just have a moment.

9            MAGISTRATE JUDGE ROEMER:      Sure.

10           (WHEREUPON, a discussion was held off the record.)
11           MS. CHALBECK:    Your Honor, it would be a challenge for

12     them not to communicate if both codefendants are living in
13     the same address.

14           Your Honor also acknowledged that this is a close call

15     and we will be appealing and we request a stay so that we can
16     appeal --

17           MAGISTRATE JUDGE ROEMER:      Well, let me get through

18     this --
19           MS. CHALBECK:    -- to the district court --

20           MAGISTRATE JUDGE ROEMER:      -- before you request a

21     stay --
22           MS. CHALBECK:    What was that?

23           MAGISTRATE JUDGE ROEMER:      -- okay?
24           MS. CHALBECK:    I'm sorry.

25           MAGISTRATE JUDGE ROEMER:      Let me get through these
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 31 of 36
                                                                           31
                   U.S. v. Hinkle, Jr. - 23-MJ-5219


1      conditions before you request a stay, okay?

2             MS. CHALBECK:    Yes, your Honor.
3             MAGISTRATE JUDGE ROEMER:      What about the codefendant?

4             MS. CHALBECK:    We would ask that they not, that they not
5      be living or residing together in the --

6             MAGISTRATE JUDGE ROEMER:      Okay, well, I'm not --

7             MS. CHALBECK:    -- same place.    And --
8             MAGISTRATE JUDGE ROEMER:      -- going to order --

9             MS. CHALBECK:    -- not talk --

10            MAGISTRATE JUDGE ROEMER:      -- that.   I'm not going to
11     order that.

12            Are there defendants in related cases?
13            MS. CHALBECK:    Simon Gogolack is a defendant in a

14     related case.

15            MAGISTRATE JUDGE ROEMER:      Okay.   So he shouldn't have
16     any contact with Simon Gogolack.

17            MS. CHALBECK:    Yes, your Honor.

18            MAGISTRATE JUDGE ROEMER:      Okay.   Do you understand that,
19     sir?

20            THE DEFENDANT:    Yes, sir.

21            MAGISTRATE JUDGE ROEMER:      You're not to have any contact
22     with Mr. Gogolack.      And when I say no contact, I mean no

23     contact.
24            THE DEFENDANT:    No contact.

25            MAGISTRATE JUDGE ROEMER:      No face-to-face contact.       No
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 32 of 36
                                                                            32
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1      letter writing contact.      No texting contact.      No telephone

2      contact.    No social media contact.      No passing a message
3      through a third person.

4            Do you understand, sir?
5            THE DEFENDANT:    Yes, sir.

6            MAGISTRATE JUDGE ROEMER:      Because that will be the

7      quickest way you'll be back here and be put in jail, all
8      right --

9            THE DEFENDANT:    I understand.

10           MAGISTRATE JUDGE ROEMER:      -- if you have contact with
11     him, okay?

12           He's to avoid all contact directly or indirectly with
13     any persons who are or may become a victim or potential

14     witness in the subject matter, investigation or prosecution.

15           Is there anyone you want to name at this point?          You
16     don't have to do it in open court.        We can --

17           MS. CHALBECK:    No, your Honor.

18           MAGISTRATE JUDGE ROEMER:      No, okay.
19           He's to submit to a mental health evaluation and/or

20     treatment as approved by pretrial services including

21     copayment.    He's to refrain from possessing a firearm or
22     destructive device or any other dangerous weapon.

23           He's to refrain from excessive use of alcohol.
24           He's to refrain from any use or unlawful possession of

25     narcotic drugs unless prescribed.
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 33 of 36
                                                                           33
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1            He's not to use or possess marijuana, regardless of

2      whether he has authorized -- has been authorized to use or
3      possess medical marijuana under state law.

4            Do you understand that, sir, no marijuana?
5            THE DEFENDANT:    Yes, sir.

6            MAGISTRATE JUDGE ROEMER:      And you're going to be tested.

7      And if you come up positive, you're going to be back here and
8      you're going to go to jail --

9            THE DEFENDANT:    Yes, sir.

10           MAGISTRATE JUDGE ROEMER:      -- you understand that, sir?
11           He's to undergo drug and alcohol testing and/or

12     treatment including copayment for services as directed by the
13     U.S. Probation Office.

14           He's to refrain from obstructing or attempting to

15     obstruct or tamper in any fashion with the efficiency and
16     accuracy of any prohibited substance testing which is

17     required as a condition of release.        He's to report within 72

18     hours to pretrial services office any contact with any law
19     enforcement personnel including, but not limited to, any

20     arrest, questioning or traffic stop.

21           He's to participate in the location restriction program.
22     He's going to be under home incarceration.

23           The type of location monitoring we're going to be using,
24     we're going to have to have the probation office work on that

25     due to the location of his home, see if there's a cell
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 34 of 36
                                                                           34
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1      reception or not.     But he should get a landline.

2            Does he have a land line at his house?
3            (No audible response.)

4            MAGISTRATE JUDGE ROEMER:      Okay.    He's got to get one
5      installed, okay, before he's released.

6            He's to refrain from obstructing or attempting to

7      obstruct or tamper in any fashion with the efficiency and
8      accuracy of the electronic monitoring which is required as a

9      condition of release.

10           Ms. Chalbeck, are there any other additional conditions
11     that the government wants?

12           MS. CHALBECK:    No, thank you, your Honor.
13           MAGISTRATE JUDGE ROEMER:      I'm sorry.

14           MS. CHALBECK:    No, thank you, your Honor.

15           MAGISTRATE JUDGE ROEMER:      Okay.    Sir, do you understand
16     all these conditions of release?

17           THE DEFENDANT:    Yes, sir.

18           MAGISTRATE JUDGE ROEMER:      Do you have any questions
19     whatsoever?

20           THE DEFENDANT:    No, sir.

21           MAGISTRATE JUDGE ROEMER:      Okay.    All right.    I will
22     order a home inspection.      So he won't be released until the

23     home inspection is done.      And they won't do the home
24     inspection until the landline's been installed.

25           So once he gets the landline installed, Mr. Bogulski,
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 35 of 36
                                                                           35
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1      they should inform you, you should inform probation, and

2      probation will send someone out to do the home inspection,
3      okay?

4            Mr. Bogulski, I believe you were going to report back on
5      preliminary hearing today.

6            MR. BOGULSKI:    Judge, we, we don't need a hearing.          My

7      client's getting out --
8            MAGISTRATE JUDGE ROEMER:      Okay.

9            MR. BOGULSKI:    -- hopefully.

10           MAGISTRATE JUDGE ROEMER:      So the defendant waives his
11     right to a preliminary hearing.

12           And I believe we set a Rule 48(b) date already?
13           MS. CHALBECK:    We did, your Honor, I believe for

14     February 1st.

15           MAGISTRATE JUDGE ROEMER:      And we excluded the time?
16           MS. CHALBECK:    Yes, your Honor.

17           MAGISTRATE JUDGE ROEMER:      Anything else today, Ms.

18     Chalbeck -- well, you wanted a stay.         I'll give you a 24-hour
19     stay.

20           MS. CHALBECK:    Thank you, your Honor.

21           MAGISTRATE JUDGE ROEMER:      Okay.    Anything else?
22           MS. CHALBECK:    No, your Honor.

23           MAGISTRATE JUDGE ROEMER:      Mr. Bogulski?
24           MR. BOGULSKI:    No, your Honor.

25           MAGISTRATE JUDGE ROEMER:      Ms. Linton.
     Case 1:23-cr-00099-LJV-JJM Document 10 Filed 10/30/23 Page 36 of 36
                                                                           36
                  U.S. v. Hinkle, Jr. - 23-MJ-5219


1            PROBATION OFFICER LINTON:      No, your Honor.

2            MAGISTRATE JUDGE ROEMER:      All right.      Have a good rest
3      of the day.

4            MR. BOGULSKI:    Thank you, your honor.
5            (WHEREUPON, proceedings adjourned.)

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8                             *            *           *

9                          CERTIFICATE OF TRANSCRIBER

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11                 In accordance with 28, U.S.C., 753(b), I

12     certify that this is a true and correct record of proceedings
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15     for the Western District of New York before
16     Magistrate Judge Michael J. Roember on October 26, 2023.

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19     S/ Diane S. Martens

20     Diane S. Martens
       Transcriber
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